                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



 UNITED STATES OF AMERICA,                         Case No. 21‐CR‐0173 (PJS/DTS)

                     Plaintiff,
                                                               ORDER
 v.

 ANTON JOSEPH LAZZARO,

                     Defendant.



      This matter is before the Court on the parties’ motions in limine [ECF

Nos. 298–305, 307–314] and defendant’s motion to dismiss counts 1 through 6 of the

indictment [ECF No. 323]. Based on all of the files, records, and proceedings herein,

and for the reasons stated on the record at the pretrial conference on March 20, 2023,

IT IS HEREBY ORDERED THAT:

      1.     The government’s motion in limine to sequester witnesses [ECF No. 298]

             is GRANTED IN PART and DENIED IN PART. Witnesses will be

             sequestered, with the exception of the government’s case agent (FBI

             Special Agent Richard Waller), defendant’s mother, and defendant’s

             investigator.

      2.     The government’s motion in limine to preclude issues litigated in pretrial

             motions [ECF No. 299] is GRANTED. Defendant may not refer to issues
     previously decided by this Court in the presence of the jury (including but

     not limited to selective or vindictive prosecution, the political motivations

     or affiliations of the government’s attorneys, or the alleged monitoring of

     attorney‐client‐privileged communications by the government).

3.   The government’s motion in limine to preclude evidence and arguments

     under Federal Rule of Evidence 412 [ECF No. 300] is GRANTED.

4.   The government’s motion in limine to preclude evidence and arguments

     regarding consent and state laws [ECF No. 301] is GRANTED IN PART

     and DENIED IN PART.

     a.     As a general matter, the parties may introduce evidence regarding

            communications and interactions between defendant and any

            complaining witness, including evidence tending to show consent

            or lack thereof.

     b.     But defendant is prohibited from arguing to the jury that if a

            complaining witness consented to engage in sexual contact with

            him, then the federal sex trafficking statute was not violated.

     c.     The parties are prohibited from referring to the age of consent

            under Minnesota law or the law of any state or nation. This ruling

            does not preclude defendant from defending against Count 7 of the



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           superseding indictment by offering evidence that he attempted to

           silence a complaining witness with whom he had sex because he

           discovered that she was 15 years old and that discovery caused him

           to fear that he would be prosecuted under Minnesota state law.

5.   The government’s motion in limine to preclude mention of possible

     punishment [ECF No. 302] is GRANTED.

6.   The government’s motion in limine to preclude references to uncharged

     individuals [ECF No. 303] is DEFERRED UNTIL TRIAL. As a general

     matter, defendant may impeach witnesses by establishing that they could

     have been charged with federal crimes but were not. However, defendant

     may not argue that the failure to prosecute others shows that he was

     selectively or vindictively prosecuted.

7.   The government’s motion in limine to preclude improper defenses [ECF

     No. 304] is GRANTED.

8.   The government’s motion in limine to refer to victims by first name only

     [ECF No. 305] is GRANTED.

9.   Defendant’s motion in limine to exclude Rule 1006 charts [ECF No. 307] is

     DEFERRED UNTIL TRIAL.




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10.   Defendant’s motion in limine to prohibit inappropriate comment on

      lawful sexual relationships [ECF No. 308] is GRANTED IN PART and

      DENIED IN PART.

      a.    The government may not express opinions or make arguments

            regarding the morality or propriety of defendant’s sexual conduct,

            preferences, or tastes.

      b.    However, the government may introduce evidence of what the

            defendant said about his sexual conduct, preferences, or tastes to

            his co‐defendant or to the complaining witnesses.

11.   Defendant’s motion in limine to prohibit reference to defendant’s

      investment and participation in adult themed businesses [ECF No. 309] is

      DEFERRED UNTIL TRIAL. As a general matter, testimony and evidence

      regarding what defendant said or showed to the complaining witnesses

      will be admissible, including statements related to his pornography

      business. But the government may not introduce evidence to prove that

      defendant owned or operated any adult‐themed business or mention the

      the name of any such business.

12.   Defendant’s motion in limine to prohibit reference to other cases raising

      similar allegations [ECF No. 310] is GRANTED.



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      13.   Defendant’s motion in limine prohibit reference to other sexual conduct

            and relationships [ECF No. 311] is DEFERRED UNTIL TRIAL.

      14.   Defendant’s motion in limine to prohibit reference to the complaining

            witnesses as victims [ECF No. 312] is DENIED.

      15.   Defendant’s motion in limine to prohibit Rule 404(b) evidence [ECF

            No. 313] is DEFERRED UNTIL TRIAL.

      16.   Defendant’s motion in limine to prohibit testimony based on speculation

            or conjecture [ECF No. 314] is GRANTED. Neither party may elicit

            testimony from any witness if the testimony is based on speculation.

      17.   Defendant’s motion to dismiss Count 1 through 6 of the indictment for

            failure to allege offenses [ECF No. 323] is DENIED AS MOOT in light of

            the superseding indictment.




Dated: March 20, 2023                           _______________________________
                                                Patrick J. Schiltz, Chief Judge
                                                United States District Court




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